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                 EXHIBIT 6
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                                                                       U.S. Departme nt of Homeland Security
                                                                       Washington, DC 20528


                                                                               Homeland
                                                                               Security
June 14,2011

MEMORANDUM FOR:                All ICE and CRCL Personne l

FROM :                         Margo   Sehlange:1V\~ .6~
                               Officer for Civil Rights arid Civil Liberties
                               Departmenta   f omela~
                                               +  ; nd Sec urity

                               Gary Mead
                               Executive Assoc iate ' irector
                               U.S. Immigration and Customs Enfo rcement

SU BJ ECT:                     Secure Communities Complai nts Invo lving State or Local Law
                               Enforc ement Agenc ies

This memorandum sets out how the Department of Homeland Securi ty COBS) Office for Civ il
Rights and Civil Liberties (C RCL) and U.S. Imm igrat ion and Customs Enforcement (ICE) will
address civil rights complai nts involving state and local law enforcement and ICE' s Secure
Communities program.

I. STRATEGY

Pursuant to CRCL' s mandate to ""oversee compliance with constitut iona l, statutory, regulatory,
policy. and other requirements relating to the civ il right s and civil liberti es of individuals
affected by the programs and activities of the Department," 6 U.S.C. § 345(.)(4), CRCL's
Compliance Branch will invest igate comp lain ts of racial/ethnic discrimination or profi ling or
other civil rights or civi l liberties allegations regarding state and loca l law enforcement agencies'
conduct in j urisdictions in which ICE's Secure Communities program has been activated.

Secure Communities differs from most other programs involved in CRCL investigations insofar
as civi l rights or civi l liberties all egations relating 10 Secure Communit ies may concern claims of
mi sconduct by state or local law enforcement officers or agencies, not DHS emp loyees or
contractors. Unlike with its 287(g) program, ICE need not have a forma l part nership with the
local law enforcement agencies whose arrests trigger an infonnalion flow to ICE through Secure
Communities. CRCL will, therefore, often lack a compulsory process or the ability to require
state and local law enforcement agencies to cooperate in our investi gation s. Based on varied
factors and relationships, CRCL and ICE will strive to obtai n the level of state and local 1aw
enforcement agency cooperation needed and ICE will ass ist in CRCL' s in vestigations, including
promoting such cooperation. The tools identified below will promote product ion of documents
and witnesses when necessary (see Part II.D below).
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This process is useful to ensure that DRS's activities do not function as a conduit or incentive for
discriminatory policing, but it is important to note (and ICE will state, if asked) that DRS/ICE
oversight of Secure Communities does not put DRS or ICE in a position to superintend all law
enforcement conduct in jurisdictions where Secure Communities has been activated. It remains
the responsibility of each jurisdiction to abide by its constitutional obligation to avoid
discriminatory policing. Many civil rights and/or community policing mechanisms that may
assist in fulfilling that responsibility have nothing to do with Secure Communities or
immigration enforcement. Accordingly, DRS will not discourage development or use of such
mechanisms.

II. INVESTIGATION PROCESS

Three potential informational sources could lead to a CRCL investigation related to Secure
Communities: (1) complaints alleging misconduct with respect to identifiable individuals or
groups, or a specific law enforcement agency or agencies, received through the CRCL complaint
line or email box or through referral from ICE; (2) statistical anomalies ("yellow flags")
recognized through standing quarterly reviews of Secure Communities data by ICE and CRCL;
and (3) third-party research, such as non-governmental organization (NGO) reports or systematic
media investigations. The appropriate response will generally follow somewhat different
pathways.

ICE will in the fIrst instance direct potential complainants to file their complaint with CRCL, as
is now done through a notice on the Secure Communities web site. Where ICE receives a civil
rights complaint concerning Secure Communities directly, its first step will be to forward the
complaint to CRCL for processing under the methods described here. In an exceptional case
requiring immediate ICE investigation (such as a credible allegation of a practice posing an
immediate threat to life or safety), ICE will promptly notify CRCL of the complaint and facilitate
CRCL's participation in its own investigation.

This memorandum addresses complaints exclusively or principally concerning conduct by a state
or local law enforcement agency in a situation involving Secure Communities. For Secure
Communities civil rights complaints also alleging misconduct by ICE employees or contractors,
CRCL will follow its standard procedures for investigating or, as appropriate, referring
investigations to the ICE Office of Professional Responsibility (OPR) through the Joint Intake
Center (JIC).

ICE and CRCL may also receive nonspecific or programmatic allegations about Secure
Communities that cannot form the basis for a further investigation-a general claim from a
member of the public that the initiative promotes civil rights abuses, for example. It will
generally be appropriate for the recipient, whether ICE or CRCL, to respond to such nonspecific
allegations through its established process for addressing such correspondence, without
implicating this protocol. ICE and CRCL will, however, collaborate on any such correspondence
calling for a considered and coordinated response.




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A. Secure Communities complaints

Upon receipt of a complaint about Secure Communities regarding identifiable persons or groups
in connection with specific law enforcement agencies, CRCL's Compliance Branch will
generally take the following steps:

   1. Notify Secure Communities personnel that the investigation has been initiated. If the
      complaint involves significant allegations against ICE employees or contractors, ICE will
      follow standard procedure for DHS civil rights complaints, including coordination with
      ICEOPR.
   2. Research available law enforcement databases, in particular ICE's ENFORCE and the
      information available through FBI's National Crime Information Center (NCIC), and
      regular statistical reporting on Secure Communities. This step seeks information about
      both the individuals and encounters identified in the complaint and about the conduct of
      the agency or agencies involved based on statistical reporting.
   3. Interview the individuals identified in the complaint and review any documents they
      provide.
   4. Work with ICE to understand the law enforcement agency or agencies that are the subject
      of the complaint. This step will vary from case to case, but could include interviewing an
      ICE field officer or field office director and requesting documents from the field office.
   5. In some cases, make a limited document request to the law enforcement agency for items
      such as the arrest files on the identified individuals.
   6. Determine DRS's Title VIjurisdiction by researching whether the subject of the
      complaint is a recipient or sub-recipient of DHS grants.
   7. Notify the Department ofJustice Civil Rights Division of the investigation.
    8. Jointly investigate the law enforcement agency in question with ICE if a case is opened in
       the ICE Joint Integrity Case Management System (JICMS). If there is no JICMS case,
       depending upon the circumstances, CRCL will jointly investigate with ICE or will
       investigate independently. This step could include interviews with officers of the
       jurisdiction in question, further document requests, site visits, examination of data sets
       held by the agency, etc. Where there are allegations regarding ICE employees or
       contractors, CRCL will coordinate as appropriate with ICE Office of Professional
       Responsibility (OPR).
    9. Prepare findings (in conjunction with ICE if a joint investigation), if appropriate.
    10. Prepare recommendations to ICE and/or the subject of the complaint. The scope of
        possible recommendations is discussed further below.

    11. Notify DOJ ofthe results ofthe investigation.

Some of these steps may happen simultaneously, and the process may be pretermitted if an
allegation is determined non-credible, or does not suggest a problem, at an earlier step. Note that
different types of Secure Communities complaints may principally involve either the arresting
agency (usually a police department) or the detaining agency (often a county sheriff operating a

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jail), but we may seek information from the counterpart (arresting or detaining) agency even
where no allegation of misconduct attaches to it directly.

B. Statistical anomalies

ICE and CRCL will jointly design and review regular reports (generated at least once a quarter)
to detect anomalies in arrest patterns or other police conduct in enrolled jurisdictions. These
anomalies, the definition of which will require significant further development beyond the scope
of this document, might surface as deviations from expected benchmarks, or sharp changes in a
jurisdiction's statistics without a ready explanation. If a "yellow flag" anomaly is identified that
warrants further examination, CRCL will:

    1. Collaborate with ICE regarding the anomaly and request information from the field
       office on what might be causing it.
    2. Conduct further database research on the jurisdiction in question, along the lines of a
       "root cause analysis." This research will attempt to gather more particularized data than is
       captured by quarterly reports, and could include geographical detail, numeric identifiers,
       or other analysis to identify the cause of the anomaly.
    3. If these steps cannot resolve the anomaly, CRCL may:
           a   Open a deeper statistical investigation and invite ICE to partner in the
               investigation; and/or
           b. Examine non-database sources to provide concrete facts on which to research the
              agency's conduct. These could be complaints raised by NGOs, in media reports,
              or in correspondence with the Department that had not prompted us to open a
              formal investigation in the absence of the statistical anomaly.
    4. Determine DBS's Title VIjurisdiction by researching whether the subject of the
       investigation is a recipient or subrecipient ofDHS grants.
    5. Notify the DOJ Civil Rights Division of our investigation.
    6. Depending upon the circumstances, investigate the anomaly jointly with ICE, or
       independently. This step could include interviews with officers of the jurisdiction in
       question, further document requests, site visits, etc.
    7. Prepare findings (in conjunction with ICE if a joint investigation), if appropriate.
    8. Prepare recommendations to ICE and/or the subject of the anomaly. The scope of
       possible recommendations is discussed further below.
    9. Revise quarterly statistical review protocol in light of lessons learned.
    10. Notify DOJ ofthe results ofthe investigation.


c. Other external data
Both CRCL and ICE may receive or come to be aware of other sources of non-governrnent data
and research that may facilitate oversight of Secure Communities. ICE and CRCL will consider


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appropriate follow-up action to such research on a case-by-case basis. Where outside research
involves a limited number of specified jurisdictions, a follow-up investigation, if appropriate,
would generally follow the protocol for investigating statistical anomalies, as set forth in part (B)
above, beginning at step 2.


D. Noncooperation
We anticipate that law enforcement agencies will voluntarily cooperate with our investigations.
Ifnecessary, additional tools exist that may facilitate cooperation, including, potentially,
adjustments to Secure Communities protocols for the relevant jurisdiction and using DHS's Title
VI authority if appropriate. (See 6 C.F.R. § 21.9(c) ("Each recipient [ofDHS financial support]
shall permit access by the Secretary during normal business hours to such of its books, records,
accounts, and other sources of information, and its facilities as may be pertinent to ascertain
compliance with [DHS Title VI antidiscrimination regulations].").

III. RECOMMENDATIONS, REFERRALS, AND REMEDIES

On a case by case basis, responding to the particular situation, if CRCL finds civil rights or civil
liberties problems in the course of an investigation, CRCL will provide recommendations, and
may refer the investigation to other government bodies with additional oversight authority.
Recommendations may encompass:

    •   Increased officer training and/or oversight on civil rights and civil liberties issues.
    •   Identification of law enforcement officers who may require disciplinary investigation.
    •   Referral of matters to state or local authorities, such as state attorneys general or police
        oversight bodies.
    •   Referral of significant matters to the U.S. Department of Justice, Civil Rights Division
        for possible criminal investigation under 18 U.S.C. § 242 or other authorities, or civil
        litigation under 42 U.S.C. § 14141 or other authorities.
    •   Prospective inquiry, scrutiny, and/or requested reporting by the agency, which may
        require the collection of additional information on police conduct, including
        individualized data on individuals stopped or arrested by the agency.
    •   Changes to ICE's administration of the Secure Communities program for the individual
        jurisdiction, if appropriate.
    •   Improvements to the oversight of the Secure Communities program.
    •   Restrictions or cancellation ofDHS grants to the agency pursuant to the DHS Title VI
        regulations, if appropriate.




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